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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

TIMOTHY KING, et al.,

            Plaintiffs,

v.

GRETCHEN WHITMER, et al.,                          Civil Case No. 20-13134
                                                   Honorable Linda V. Parker
            Defendants.,

and

CITY OF DETROIT,
DEMOCRATIC NATIONAL COMMITTEE,
MICHIGAN DEMOCRATIC PARTY,
and ROBERT DAVIS,

          Intervenor-Defendants.
_____________________________________/

                                  JUDGMENT

      Plaintiffs initiated this action on November 25, 2020. (ECF No. 1.) Their

claims were subsequently dismissed either voluntarily (ECF Nos. 86-91) or by

leave of Court (ECF No. 149). Defendants and the Intervenor-Defendants filed

motions for sanctions. On August 25, 2021, the Court granted the motions filed by

Michigan Governor Gretchen Whitmer, Michigan Secretary of State Jocelyn

Benson, and the City of Detroit and granted in part and denied in part the motion

filed by Robert Davis. (ECF No. 172.) The sanctions awarded included the
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reasonable attorneys’ fees incurred by Governor Whitmer, Secretary of State

Benson, and the City of Detroit. The Court decided on the amount of the fee

awards in an Opinion and Order entered today.

      Accordingly,

      IT IS ORDERED that Plaintiffs’ counsel, jointly and severally, shall pay

attorneys’ fees in the amount of $21,964.75 to Defendants Gretchen Whitmer and

Jocelyn Benson;

      IT IS FURTHER ORDERED that Plaintiffs’ counsel, jointly and

severally, shall pay attorneys’ fees in the amount of $153,285.62 to Intervenor-

Defendant City of Detroit;

      IT IS FURTHER ORDERED that this matter is CLOSED.

      IT IS SO ORDERED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE
 Dated: December 2, 2021
